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PILLSBURY WINTHROP SHAW PITTMAN LLP
Dina E. Yavich
1540 Broadway
New York, NY 10036
(212) 858-1000 (Phone)
(212) 858-1500 (Fax)
dina.yavich@pillsburylaw.com

Counsel for Deutsche Bank Trust Company Americas,
as Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
In re:                                                        :
                                                              :
                                                              : In a Case Under Chapter 15
OAS FINANCE LIMITED,
                                                              : of the Bankruptcy Code
                                                              :
                  Debtor in a Foreign Proceeding. : Case No.: 15-11304 (SMB)
--------------------------------------------------------------x

        NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

        PLEASE TAKE NOTICE that the attorney listed below hereby enters her appearance as

counsel for Deutsche Bank Trust Company Americas (“Deutsche Bank”), in its capacity as the

trustee under (i) that certain indenture, dated as of April 25, 2013, governing the 8.875%

Perpetual Notes and (ii) that certain indenture, dated as of July 2, 2014 (as supplemented by the

First Supplemental Indenture, dated as of September 2, 2014), governing the 8.00% Senior Notes

due 2021, in the above-captioned chapter 15 case, pursuant to chapter 15 of title 11 of the United

States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), and Rules 2002 and 9010 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and requests that copies of all

notices and pleadings in the above-captioned chapter 15 case be given and served upon:

                                 Dina E. Yavich
                                 1540 Broadway
                                 New York, NY 10036
                                 (212) 858-1000 (Phone)
                                 (212) 858-1500 (Fax)
                                 dina.yavich@pillsburylaw.com
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       PLEASE TAKE FURTHER NOTICE that the foregoing demand is not only for the

notices and papers referred to in the sections of the Bankruptcy Code and the Bankruptcy Rules

specified above, but also includes, without limitation any and all orders and notices of any

application, motion, petition, complaint, demand, request or other pleading in this chapter 15

case, whether formal or informal, whether written or oral, and whether transmitted or conveyed

by mail, delivery, telephone, electronically or otherwise filed or given with regard to this chapter

15 case, and the proceedings therein.

       PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

later appearances, pleadings, proofs of claim, claims, or suits filed in this case shall be deemed or

construed as a waiver of Deutsche Bank’s (i) right to have final orders in any non-core matters

entered only after de novo review by a district judge, (ii) right to trial by jury in any proceeding

so triable in this chapter 15 case or any case, controversy, or proceeding related thereto, (iii) right

to have the United States District Court withdraw the reference in any matter subject to

mandatory or discretionary withdrawal, or (iv) other rights, claims, actions, defenses, setoffs, or

recoupments, as appropriate, to which Deutsche Bank is or may be entitled, either in law or in

equity, under any agreements, all of which rights, claims, actions, defenses, setoffs, and

recoupments are expressly reserved.


Dated: New York, New York                      Respectfully submitted,
       June 7, 2016
                                               PILLSBURY WINTHROP SHAW PITTMAN LLP

                                               By: /s/ Dina E. Yavich
                                               Dina E. Yavich
                                               1540 Broadway
                                               New York, NY 10036
                                               (212) 858-1000 (Phone)
                                               (212) 858-1500 (Fax)
                                               dina.yavich@pillsburylaw.com
                                               Counsel for Deutsche Bank Trust Company
                                               Americas, as Trustee
